 

Addendum to Motion GOsof case!49+924381 Doc 86 Filed 06/29/20 Page 1 of 7

From: ralph sanders (ralph_l_sanders@yahoo.com)
To: _ flsb-emergency-filings@flsb.uscourts.gov
Cc: ralph.l.sanders@gmail.com

Date: Wednesday, June 17, 2020, 04:07 PM EDT

Dear Honorable Judge Paul G. Hyman, Jr

UNITED STATES BANKRUPTCY COURT
United States Courthouse

299 E. Broward Bivd.

Courtroom: 301 / Chambers: Room 303
Fort Lauderdale, FL 33301

"U.S. BANKRUPTCY COUR
~S0.DISTRICT OF FLORIDR.

 

 

Addendum to Motion 80 regarding Mr. Johnson wording that the case is winding down and

indirectly inviting Bank New York Mellon to continue with their wrongful foreclosure.

The reason I said wrongful is I am almost part of Wells Fargo HAMP breach of contract the

nationwide class-action the lawsuit against Wells Fargo that was semi-settled on March 31,

2020. The only area that I am missing is Wells Fargo had to have sold my home.

In history, the spreadsheet is the timeline of my mortgage from

1. Origination of WF Mortgage

2. WF Mortgage

3. Notice by WF that they (not BNYM) will be foreclosing. The wording is very similar to

the paperwork that I got from BNYM/Specialized Loan Servicing late last week

4. WF assigning my mortgage to BNYM
5. WF is now the agent for BNYM

6. WF offers HAMP
 

7. We accepted. the paren Or HP boc 86 Filed 06/29/20 Page 2 of 7

8. We made the three payments

9. WF denies making the HAMP permanent using their buggy software
10. No one could figure out a valid/legal reason for the denial

11. WF faulty software issue became more known

12. 2019 I get a notice from WF that they made a mistake.

13. I filed an appeal in 2019. I lost due to time factors. It seems that being in bankruptcy

and new evidence does not count.

14. I have to research other BK cases where the validity of judgment is questioned and

has to be resolved in either civil or Federal court.
MY Bankruptcy case is NOT winding down. Just the reverse.

Attach is a spreadsheet of my mortgage and copies of the Wells Fargo Hamp documents

involve Ralph & Virpi Sanders

 

| On_Sheet.zip
s 7.1MB
20111130_Hamp_paperwork.JPG

123.5kB

Letter_From_Wells_Fargo_denying_Hamp_Sanders 708-0143369122 (2).pdf
93kB

Sanders 708-0143369122, HAMP trial mod docs (3).pdf
4 193.6kB

 

 

 

 
 

 

 

Case 19-24331-PGH Doc 86

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WFHM
WELLS | HOME 8480 Stagecoach Circle
FARGO | MORTGAGE Frederick, MD 21701-4747
wellsfargo.com
Fax: (866) 278-1179

Telephone: (800) 416-1472
Correspondence: PO Box 10335

Des Moines, [A 50306

Hours of Operation: Mon-Fri, 6 AM - 10 PM
Sat, 8 AM - 2 PM CT

February 17, 2012

Loan Number: 0143369122
Property Address: 561 Sw 60 Ave
Plantation FL 33317

Ralph L Sanders
561 SW 60 Ave
Plantation FL 33317

Subject: Home Affordable Modification Program
Dear Ralph L Sanders :

We're writing to provide you with the results of our efforts to find a
solution that might help with the mortgage payment challenges you're
facing.

Decision on the Federal Government's Home Affordable Modification Program
Unfortunately, after carefully reviewing the information you've provided,

we are unable to adjust the terms of your mortgage. There are additional liens
on your property that prevent us from completing your request for mortgage
assistance.

If you'd like to discuss why your loan was not approved under the Home
Affordable Modification Program, or find out about other options that
may be available to you, it's critical that you contact us within 30

days of this letter.

During this 30 day period a foreclosure sale on your home will not be
scheduled if permitted by state law. Please understand that you may
continue to receive letters and phone calls related to foreclosure
during this time.

Additional assistance is available

If monthly expenses other than your mortgage payment are creating part
of your financial strain, we encourage you to contact a HUD-approved,
non-profit, community based Credit Counseling agency who can work with
you, at no charge, to lower your other monthly payments. You can find a

Together we'll go far

 

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9-2
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local agency by calling (800) 569-4287 or call the HOPE Hotline Number at
(888) 995-HOPE. A counselor will work closely with you, take your financial
circumstances into consideration, create a budget plan that may work

for you and provide assistance in understanding the Borrower Notice

by asking for Making Home Affordable HELP.

Be sure to avoid anyone who asks for a fee for counseling or a loan
modification, or asks you to sign over the deed to your home, or to make
your mortgage payments to anyone other than Wells Fargo Home Mortgage.

If you have any questions about the decision we've made on your

mortgage request, please call a Wells Fargo Home Mortgage representative
at the number listed in the account information section. We'd also like

to hear from you if any of your circumstances have changed, or if you can
provide us with additional information for consideration.

Sincerely,
Wells Fargo Home Mortgage
Fax: 1-866-590-8910

This communication is an attempt to collect a debt and any information
obtained will be used for that purpose. However, If you have received a
discharge of this debt in bankruptcy or are currently in a bankruptcy
case, this notice is not intended as an attempt to collect a debt and,

this company has a security interest in the property and will only
exercise its rights as against the property.

With respect to those loans in the state of California, the state

Rosenthal Fair Debt Collection Practices Act and the Federal Fair Debt
Collection Practices Act require that, except under unusual circumstances
collectors may not contact you before 8 a.m. or after 9 p.m. They may not
harass you by using threats of violence or arrest or by using obscene
language. Collectors may not use false or misleading statements or call

you at work if they know or have reason to know that you may not receive
personal calls at work. For the most part, collectors may not tell

another person, other than your attorney or spouse, about your debt.
Collectors may contact another person to confirm your location or enforce
a judgment. For more information about debt collection activities, you

may contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov.

The federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex or marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because all
or part of the applicant's income derives from any public assistance
program; or because the applicant has in good faith exercised any right
under the Consumer Credit Protection Act. The federal agency that

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administers compliance with this law concerning this creditor is Office of
the Comptroller of the Currency, Customer Assistance Group, 1301 McKinney
Street, Suite 3450, Houston, TX 77010-9050.

If you reside in the state of New York and if you believe the loss
mitigation request has been wrongly denied, you may file a complaint
with the New York State Banking Department at 1-877-BANK-NYS or
www.banking.state.ny.us.

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From: Angela M. Riley [mailto:ariley@albertellilaw.com])

Sent: Wednesday, November 30, 2011 1:10 PM

To: ‘jerome@teppslavirm.com’

Subject: 11-87990 Wells Fargo v. Ralph Sanders/Case no:CACE11016092

Good afternoon:

Please see the attached HAMP trial documents for your review.

Thanks.

Angela M. Riley P.O, Box 23028

(AMR)
Tampa, FL 33623

Litigation Paralegal Tel: (813) 221-4743, ext 1377

Fax: (813) 221-9171
ALBERELELI Email: arileyGalbertellilaw.com

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| HELPING YOU STAY IN YOUR HOME. MAKING HOME AL | ORDABLE

You may be able to make your payments more affordable.

Act now to get the help you need!

 

October 21, 2011

RALPH SANDERS Loan *: 0143369122

561 SW60 AVE Property Address: 561 SW 60 AVE
PLANTATION, FL 33317 : PLANTATION, FL 33317
Dear RALPH SANDERS,

Cergrat. atonz By enterng ato a Rome “ffordane Mod fcaton Tral Faned Fan you rave take me first step
toward rra<ag you" Ga,"ner: nore afferdabe

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you vath aches -1-parsar Counsel "gq o course ng by prone

B Or. seect course ng by phone chvougn me HOPE Howine by calling 1-E58-995-HOPE Th is an on-
demand courzeing service mat is ava abe 24-hours a ca;T-cayz a weex The ROPE Herre =
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Remeroer. t = your responsibility to contact one of these course ng ager es itis alse a recuremen of your
Tria Period Plan

If yOu have Queztions aocut tvs requ rere, pease cortact Uz a: 877-893-3606 Ext 01360
Sincerely,
Eddie Lebario

877-893-3606 Ext. 01360
Wells Fargo Home Mortgage

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PAM PRUD AG eee RCM RUSSO CRRA POM ame ScD GDR De Mee Dy cea

 
